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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

VON KING, DANIELLE JOHNSON,               :
CHELSEA SHAW, JOY FLOWERS,                :
SUSAN KOLYNO, JACQUELINE                  :
PERKINS, ARTHUR WILLIAMS,                 :
And JANE/JOHN DOE 1-9,                    :
                                          :
      Plaintiffs,                         : CIVIL ACTION: 1:21-cv-03082-JPB
                                          :
v.                                        :
                                          :
STATE OF GEORGIA,                         :
GEORGIA DEPARTMENT OF                     :
LABOR, and COMMISSIONER                   :
MARK BUTLER, in his official              :
Capacity,                                 :
                                          :
      Defendants.                         :

EMERGENCY MOTION TO WITHDRAW DEFENDANTS’ CONSENT TO
     PRELIMINARY APPROVAL OF CLASS SETTLEMENT

      COME NOW the State of Georgia, Georgia Department of Labor

(“GDOL”), and Commissioner Mark Butler (collectively “Defendants”),

Defendants in the above-styled action, by and through counsel, the Attorney

General of the State of Georgia, and move this Court to withdraw their consent to

the Court’s preliminary approval of class settlement.




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      By way of background, on January 4, 2022, Plaintiffs’ filed an Amended

Complaint for Declaratory and Injunctive Relief alleging that GDOL has violated

“certain promptness and due process rights” and seek class certification for three

classes: The prompt determination class, the prompt payment class, and the

prompt appeal class. (Doc. 20). In response, on January 18, 2022, Defendants

filed a Motion to Dismiss Plaintiffs’ Amended Complaint in Lieu of Answer and a

renewed Motion to Stay Discovery.1 (Docs. 22, 23).

      On February 4, 2022, Plaintiffs’ filed responses to Defendants’ motions.

(Docs. 29, 30). In addition, on February 4, 2022, Plaintiffs’ filed a Motion for

Preliminary Injunction requesting that this Court order Defendants to develop a

plan to provide prompt appeal hearings related to eligibility determinations for

unemployment benefits and a Motion for Certification of the Prompt Appeal Class

(Docs. 31-32). Briefing was stayed by this Court at the parties request subsequent

to mediation on March 15, 2022.

      On April 12, 2022, the Parties participated in a Status Conference in which

settlement potential was discussed with the Court. A May 31, 2022, deadline was

set for submission of a joint motion for preliminary approval of class settlement



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 Defendants’ consented to Plaintiffs’ request to conduct 30(b)(6) depositions,
which took place in November of 2021.
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with a hearing date of June, 6, 2022. These deadlines were extended to June 14,

2022, and June 30, 2022, respectively.

       The March 15, 2022, mediation concluded with a preliminary Reporting

Agreement. After three months of continued negotiations, the initial Reporting

Agreement developed into a proposed Settlement Agreement, which was presented

to this Court at a 1:00 hearing on June 30, 2022. Within minutes of the conclusion

of the hearing, possibly before, and prior to the filing of a Court Order granting the

Motion for Preliminary Approval of Class Settlement, Plaintiffs’ counsel issued a

press release in direct contradiction to the terms of the proposed Settlement

Agreement, which provides: “The Parties shall issue a joint press release to

media outlets throughout the state that announces the Settlement and provides

information on how to access the Notice Content Webpages.” (emphasis added,

Doc. 43, section 3.2.1, p. 7). The point being that the Parties would announce the

Settlement Agreement in a fair and even-handed manner. Plaintiffs’ attorneys,

Jamie Rush, senior staff attorney at the Southern Poverty Law Center (“SPLC”),

and Jason Carter, partner at Bondurant Mixson, & Elmore, LLP, are quoted in the

press release. (June 30, 2022, press release attached as Exhibit A).

      Due to the indifference exhibited by Plaintiffs’ counsel to the terms of the

proposed Settlement Agreement, Defendants are unable to continue along the path

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of final approval of Class Settlement and, as such, move this Court to withdraw its

consent to the preliminary approval.

                        Respectfully submitted this 1st day of July, 2022.

                                CHRISTOPHER M. CARR                    112505
                                Attorney General

                                BRYAN K. WEBB                          743580
                                Deputy Attorney General

                                KATHERINE POWERS STOFF                 536807
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                     CERTIFICATE OF COMPLIANCE

      I do hereby certify that foregoing document was typed in Times New Roman

14 point font in compliance with Local Rule 5.1B.

                                     /s/Kimberly Blue Lewis
                                     KIMBERLY BLUE LEWIS
                                     Senior Assistant Attorney General




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                         CERTIFICATE OF SERVICE

      I hereby certify that on July 1, 2022, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send notification of

filing the following CM/ECF participant:



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                              /s/Kimberly Blue Lewis
                           KIMBERLY BLUE LEWIS
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